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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                     TYLER DIVISION


 WILLIAM RYANN MARTIN, #08480078                  §


 VS.                                              §   CIVIL ACTION NO. 6:05cv222
                                                      CRIMINAL ACTION NO. 6:99cr65-2

 UNITED STATES OF AMERICA                         §


                   ORDER ADOPTING REPORT AND RECOMMENDATION

        The Court referred the above-entitled and numbered civil action to United States Magistrate

 Judge Judith K. Guthrie. The Magistrate Judge presented for consideration the Magistrate Judge’s

 Report, containing proposed findings of fact and recommendations for disposition of this case.

 Petitioner filed objections to the Report.

        This Court made a de novo review of Petitioner’s objections and determined that they lack

 merit. This Court finds that the Magistrate Judge’s findings and conclusions are correct, and adopts

 them as the Court’s findings and conclusions. The Court therefore

        ORDERS that Respondent’s motion to dismiss (dkt#6) is GRANTED;

        ORDERS, ADJUDGES, and DECREES that this motion to vacate/correct illegal sentence

 pursuant to 28 U.S.C. § 2255 is DENIED and this action is DISMISSED WITHOUT

 PREJUDICE to his right to file a motion in the United States Court of Appeals for the Fifth Circuit

 for leave to file a successive motion pursuant to 28 U.S.C. § 2255; and,
Case 6:99-cr-00065-LED
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       ORDERS that all motions not previously ruled on are denied.

       So ORDERED and SIGNED this 28th day of February, 2006.




                             __________________________________
                             LEONARD DAVIS
                             UNITED STATES DISTRICT JUDGE




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